                                IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DR. DEIRDRE LEANE,                                )
                         Plaintiff,               )
                                                  )
                v.                                )                      NOTICE
                                                  )        Case Number: 1:21-cv-00514
WILLIAM RALPH CARTER, JR.,                        )
                    Defendant.                    )


         The Magistrate Judge’s Recommendation in the above-entitled action has been filed and entered
upon the docket in this case. Pursuant to Fed. R. Civ. P. 72(b), 6(a), and 6(d), objections to the Magistrate
Judge’s Recommendation in this case must be filed and served by Monday, August 22, 2022 for those
parties who receive this notice via CM/ECF and Thursday, August 25, 2022 for those parties who receive
this notice via postal mail.

        Rule 72(b), Fed. R. Civ. P. provides in pertinent part: (b) Dispositive Motions and Prisoner Petitions.
                                                      ***
        Within 14 days after being served with a copy of the recommended disposition, a party may serve
        and file specific written objections to the proposed findings and recommendations. A party may
        respond to another party’s objections within 14 days after being served with a copy. Unless the
        district judge orders otherwise, the objecting party must promptly arrange for transcribing the
        record, or whatever portion of it the parties agree to or the magistrate judge considered
        sufficient.

         You are hereby notified that unless written objections to the Magistrate Judge’s Recommendation
are served and filed as provided in the federal rules, the District Judge shall enter an appropriate order or
judgment but need not make a de novo review of the Magistrate Judge’s Recommendation. Therefore, if
you fail to serve and file objections within the time limitation provided by the rules, as computed in this
notice, you may waive your right to question on appeal the substance of the Recommendation of the
Magistrate Judge accepted by the District Judge.

         If you are a CM/ECF participant in the above-captioned case, you have been served with the
Magistrate Judge’s Recommendation by a Notice of Electronic Filing. Non-CM/ECF participants have
been mailed a copy of this Notice and the related Magistrate Judge’s Recommendation on 8/8/2022.
For a listing of parties served, refer to this document’s Notice of Electronic Filing.

                                                           John S. Brubaker, Clerk

                                                           By: /s/_Alexis Bowers_
                                                           Deputy Clerk




        Case 1:21-cv-00514-WO-JEP Document 28 Filed 08/08/22 Page 1 of 1
